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     Telephone: (916) 443-0217
4
     Attorney for Defendant
5    Joanne Ramirez

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7

8                     IN THE UNITED STATES DISTRICT COURT

9               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) Case No. 2:06-cr-0101-MCE
                                        )
12              Plaintiff,              ) STIPULATION AND ORDER (AS TO
                                        ) JOANNE RAMIREZ ONLY) CONTINUING
13        vs.                           ) STATUS CONFERENCE AND EXCLUDING
                                        ) TIME
14   JOANN RAMIREZ,                     )
                                        ) Court: Morrison C. England, Jr.
15              Defendant               )
                                        )
16
          IT IS HEREBY STIPULATED AND AGREED by the parties through
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     their respective attorneys that the status conference currently
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19   set for December 12, 2006, be continued to February 20, 2007,

20   and that time should be excluded from the calculation of time

21   under the Speedy Trial Act. The parties submit that the ends of

22   justice are served by the Court excluding such time, so that

23   counsel for defendant Ramirez may have reasonable time necessary

24   for effective preparation, taking into account the exercise of
25   due diligence. 18 U.S.C. §3161(h)(8)(B)(iv). In addition,



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1    counsel for defendant Ramirez is presently in trial and is

2    unavailable to appear on December 12, 2006, but will be
3    available on February 20, 2007. According, time should be
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     excluded under Local Code, T-4. The parties stipulate anda gre
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     that the interests of justice served by granting this
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     continuance outweigh the best interest of the public and the
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     defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
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          IT IS SO STIPULATED
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10
     Dated: December 11, 2006                /S/MICHAEL BECKWITH
11                                           Michael Beckwith
                                             Assistant United States
12
                                             Counsel for Plaintiff
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15   Dated: December 11, 2006                /S/MICHAEL B. BIGELOW
                                             Michael B. Bigelow, Esq.,
16                                           Attorney for Joanne Ramirez

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           Case 2:06-cr-00101-MCE Document 72 Filed 12/13/06 Page 3 of 3


1                                     ORDER

2         IT IS ORDERED: that the status conference in case number
3    Cr.S. 06-101 MCE, as to Joanne Ramirez only, shall be continued
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     until February 20, 2007 at 8:30 AM and extending through
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     February 6, 2007 time is excluded from the calculation of time
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     under the Speedy Trial Act. The Court finds that interests of
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     justice served by granting this continuance outweigh the best
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     interests of the public and the defendant in a speedy trial. 18
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     U.S.C. § 3161(h)(8)(A).
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          IT IS SO ORDERED
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     Dated: December 13, 2006
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14                                 __________________________________
                                   MORRISON C. ENGLAND, JR
15                                 UNITED STATES DISTRICT JUDGE

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